                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 25-1021                                                     September Term, 2024
                                                                               EPA-89FR91094
                                                            Filed On: May 23, 2025
Independent Petroleum Association of
America, et al.,

                  Petitioners

         v.

Environmental Protection Agency and Lee M.
Zeldin, Administrator, United States
Environmental Protection Agency,

                  Respondents


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Consolidated with 25-1022, 25-1025,
25-1029, 25-1031, 25-1033


                                             ORDER

        Upon consideration of petitioners’ unopposed motions to voluntarily dismiss their
petitions for review as moot, it is

         ORDERED that these consolidated petitions for review be dismissed.

         The Clerk is directed to issue the mandate forthwith to the agency.


                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Laura M. Morgan
                                                              Deputy Clerk
